UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      1/10/2018


VISTA FOOD EXCHANGE INC.,

                                            Plaintiff,                 17-CV-07454 (ALC)(SN)

                          -against-                                     INITIAL PRETRIAL
                                                                       CONFERENCE ORDER
LAWSON FOODS, LLC,

                                            Defendant.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On January 10, 2018, the Honorable Andrew L. Carter, Jr. referred this case to my docket

for general pretrial supervision. Accordingly, an Initial Pretrial Conference pursuant to Rule 16

is scheduled for Wednesday, January 24, 2018, at 4:30 p.m. in Courtroom 219, Thurgood

Marshall Courthouse, 40 Foley Square, New York, New York.

        Rule 16(a) Conference. The Court intends to engage in a meaningful discussion in order

to schedule an appropriate case management plan. The parties will be required to discuss at the

conference the subjects set forth in Rule 16(b) and (c) of the Federal Rules of Civil Procedure. In

particular, the parties should be prepared to address: (i) the scope of discovery as defined by

Rule 26(b)(1) as amended; (ii) whether phased discovery – that is, focusing on sources that are

easier and cheaper to produce before moving on to more difficult and expensive sources – is

appropriate; (iii) whether the parties anticipate the need for a protocol concerning electronically

stored information (ESI); (iv) whether a protective order is necessary or appropriate; and (v)

whether issues related to the attorney-client privilege are likely to be material and if an order

under Federal Rule of Evidence 502 is appropriate.
       Rule 26(f) Conference. In advance of the Rule 16 conference, counsel for the parties are

directed to confer to discuss the matters set forth in Rule 26(f) of the Federal Rules of Civil

Procedure. In order to promote a just, speedy and inexpensive resolution of this case, the parties

are further directed to read the Advisory Committee Notes from the 2015 Amendments to Rule

26. The parties shall comply with their Rule 26(a) initial disclosure obligations no later than 14

days after the parties’ Rule 26(f) conference.

       Proposed Scheduling Order. As soon as practicable before the scheduled conference,

the parties are directed to complete the Civil Case Management Plan and Scheduling Order,

available at http://nysd.uscourts.gov/judge/Netburn, and e-mail it to

Netburn_NYSDChambers@nysd.uscourts.gov. Counsel who disagree about the dates or other

terms of the proposed schedule, shall submit a joint letter briefly explaining the dispute.

SO ORDERED.




DATED:         January 10, 2018
               New York, New York




                                                  2
